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                                                                      07/16/2020

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                                                                 CENTRAL DISTRICT OF CALIFORNIA
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